         Case 2:21-mj-01413-DUTY Document 1 Filed 03/23/21 Page 1 of 1 Page ID #:1

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                                   UI~IITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER
    ~,r~~-ec~ cj~8~ p~' /arr~e~~
                                             PI.AIN'I'IFF(S)               ~ - G~

                                       ~~~
       ~~~ ~~vc~.n,~o~1 Neve~~~                                                 DECLARATION RE
          ~jA ~o~''+°~~`'`I ~ 1~n~Erronrrres~.                         ov~r-oF-nis~ucr wax~rT

   The above-named defendant was charged by: J~ri,n
                                                         ~>>~,r-~~~~ ~ (~,~
   in the MR t~c~t~                    District of Luui~~ 2Y►2
   at                                                                            on
                   ~ a.m. / p p.m. The offense was allegedly committ on
                                                                     ed or about sa
   in violation of Title         1~                    U.S.C., Sections) ~~
    to wig

    A warrant for defendant's arrest was issued by:
                                                                                                               iS
    Bond of $                             was pset / 0 recommended.
   Type of Bond;

   Relevant documents) on hand (attach):


  Ideclare under penalty of perjury that the foregoin
                                                      g is true   and correct
  Executed on ?j - ~ _ ~~ ~
                        n~ro




                                                                                  O                       rL
                                                                    Print Name of Agent


                                                                        C~PC~ ~C ~ Hce~n-~
 ~~~.~~r                                                            Tide




CR-51(03l20                                 DECLARATION RE OUT-0E-DISTIUC[ WARAAM
